  Case 18-12013-BFK            Doc 9 Filed 06/09/18 Entered 06/10/18 00:23:56                         Desc Imaged
                                    Certificate of Notice Page 1 of 2
                                       United States Bankruptcy Court
                                             Eastern District of Virginia
                                                 Alexandria Division
                                             200 South Washington Street
                                                Alexandria, VA 22314


                                                             Case Number 18−12013
                                                             Chapter 7
In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Anthony F Ford                                            Kim A Kieklak
   13812 Beaujolais Ct.                                      13812 Beaujolais Ct.
   Chantilly, VA 20151                                       Chantilly, VA 20151
Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s).,(if any):
   Debtor: xxx−xx−6594                                     Joint Debtor: xxx−xx−3665
Employer Tax−Identification (EIN) No(s).(if any):
  Debtor: NA                                                 Joint Debtor: NA

                                  NOTICE OF POSSIBLE DISMISSAL
                          PURSUANT TO LBR 1007−3 STATEMENT OF INTENTION


TO:           DEBTOR OR DEBTOR'S COUNSEL

You filed a petition with the Office of the Clerk of the United States Bankruptcy Court, Eastern District of Virginia,
on June 7, 2018 . Pursuant to Local Bankruptcy Rule 1007−3, please be advised that the Statement of Intention is
missing and must be filed within thirty (30) days of the petition date or on or before the meeting of creditors date,
whichever is earlier.

Statement of Intention Due: July 9, 2018.

Failure to timely file the missing document(s) or to timely seek an extension of time, will result in the automatic
dismissal of the bankruptcy case without further notice.


                                                             William C. Redden
                                                             Clerk, United States Bankruptcy Court
Date: June 7, 2018
                                                             /s/ Jillinda Glenn
                                                             Deputy Clerk

[10073vDec2009]
        Case 18-12013-BFK              Doc 9 Filed 06/09/18 Entered 06/10/18 00:23:56                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 18-12013
Anthony F Ford                                                                                             Chapter 7
Kim A Kieklak
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0422-9                  User: glennj                       Page 1 of 1                          Date Rcvd: Jun 07, 2018
                                      Form ID: 10073                     Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 09, 2018.
db/jdb         +Anthony F Ford,   Kim A Kieklak,   13812 Beaujolais Ct.,   Chantilly, VA 20151-3609

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 09, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 7, 2018 at the address(es) listed below:
              John P. Fitzgerald, III   ustpregion04.ax.ecf@usdoj.gov
                                                                                            TOTAL: 1
